

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






AP-75,625





EX PARTE DEMETRIUS LOTT SIMMS







ON APPLICATION FOR WRIT OF HABEAS CORPUS


IN CAUSE NO. 0605233-B FROM THE


209 TH DISTRICT COURT OF HARRIS COUNTY





Per Curiam.


OPINION



	This is a subsequent application for writ of habeas corpus filed pursuant to Texas
Code of Criminal Procedure, Article 11.071, Section 5.  Applicant asserts that  he is mentally
retarded and may not be executed.  We remanded his claim to the convicting court for
resolution.

	Applicant was convicted of capital murder on March 7, 1996.  We affirmed the
conviction and sentence.  Simms v. State, No. 72,421 (Tex. Crim. App. January 13, 1999). 
During the pendency of his initial application for writ of habeas corpus, applicant filed this
new claim that he is mentally retarded and may not be executed.  We determined that this
claim met the requirements for consideration under Article 11.071, Section 5 and remanded
the matter to the convicting court for resolution of the claim.  Ex parte Simms, WR-56,811-01 (Tex. Crim. App. September 10, 2003).

	The convicting court has returned the case to this Court with its findings of fact.  We
have reviewed the record of the proceedings on remand.  The convicting court's findings of
fact and conclusions of law are supported by the record and we adopt them as our own.  We
conclude that applicant is mentally retarded and may not be executed.  The relief applicant
seeks is granted.

	Applicant's sentence is reformed from death to life imprisonment.

	IT IS SO ORDERED THIS THE 28TH DAY OF FEBRUARY, 2007.

Do Not Publish


